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     Jeffrey T. Hammerschmidt, #131113
 1   Mark Broughton, #079822
     HAMMERSCHMIDT BROUGHTON LAW CORPORATION
 2   2445 Capitol Street, Suite 150
     Fresno, CA 93721
 3   Tel: (559) 233-5333
     Fax: (559) 233-4333
 4
     Attorney for Defendant, Armand Valle
 5

 6

 7                              IN THE UNITED STATES DISTRICT COURT
 8                                EASTERN DISTRICT OF CALIFORNIA
 9

10
                                                    )        1:11-CR-354-LJO
11   UNITED STATES OF AMERICA,                      )
                                                    )
12                 Plaintiff,                       )       STIPULATION TO CORRECT
                                                    )       JUDGMENT AND ORDER THEREON
13          vs.                                     )       (Fed. Rules Crim. Proc., Rule 36)
                                                    )
14                                                  )       DATE: October 21, 2013
     ARMAND VALLE, et al,                           )       TIME: 8:30 AM
15                                                  )       Honorable Lawrence O’Neill
                   Defendants.                      )       Department Four
16                                                  )
                                                    )
17                                                  )
18          WHEREAS Defendant ARMAND VALLE has filed a Motion to Correct Judgment
19
     (Document 379) in the above referenced matter;
20
            WHEREAS grounds for correcting the Judgment, in the form of the Minutes from
21

22   sentencing, in a Criminal Case (Document 368) have been set forth in the memorandum of points

23   and authorities and the declaration of Jeffrey T. Hammerschmidt filed in support of the
24
     Defendant’s Motion to Correct Judgment;
25
            WHEREAS the Plaintiff United States of America does not oppose the motion;
26
            The parties hereto, by and through authorized counsel HEREBY STIPULATE that:
27

28




                                                        1
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            1.       The minutes reflecting the sentencing and judgment herein (Document 368) may
 1

 2   be corrected as follows:

 3          MINUTES (Text Only) for proceedings held before District Judge Lawrence J.
            O’Neill: SENTENCING held on 9/30/2013 for Armand Valle (24) Count 1
 4
            Second Superseding Indictment CUSTODY: 188 Months to run
 5          CONCURRENTLY with 1:13CR337 LJO. Special Assessment $100. Supervised
            Release: 60 Months with conditions. Defense motion to correct ARREST date on
 6          Presentence Report as 8/31/2010-GRANTED. The Government moves, by
 7
            motion, to deny the request of the Defendant for the Court's recommendation to
            the Bureau of Prisons for geographical housing at the following locations:
 8          Allenwood, PA; Pollock, LA; El Reno, OK, or Mendota, CA. The basis of the
            motion is information gained from a prison authority expert within the Bureau of
 9          Prisons that the Nuestra Familia and Norteno gang organization is attempting to
10
            form a presence at these locations. The Defendant does not oppose dispute the
            Government's motion position. The motion by the Government is GRANTED,
11          and the motion by the Defendant for a specific designation is DENIED. Appeal
            Rights waived. DEFENDANT TERMINATED. Government Counsel: K Sanchez
12
            present. Defense Counsel: J Hammerschmidt present. Custody Status:
13          CUSTODY. Court Reporter/CD Number: Karen Hooven. (Munoz, I)

14          2.       The corrected paragraph may read:
15
            MINUTES (Text Only) for proceedings held before District Judge Lawrence J.
16          O’Neill: SENTENCING held on 9/30/2013 for Armand Valle (24) Count 1
            Second Superseding Indictment CUSTODY: 188 Months to run
17          CONCURRENTLY with 1:13CR337 LJO. Special Assessment $100. Supervised
            Release: 60 Months with conditions. Defense motion to correct ARREST date on
18
            Presentence Report as 8/31/2010-GRANTED. The Government moves, by
19          motion, to deny the request of the Defendant for the Court's recommendation to
            the Bureau of Prisons for geographical housing at the following location:
20          Mendota, CA. The basis of the motion is information gained from a prison
            authority expert within the Bureau of Prisons that the Nuestra Familia and
21
            Norteno gang organization is attempting to form a presence at these locations.
22          The Defendant does not oppose the Government’s motion. The motion by the
            Government is GRANTED, and the motion by the Defendant for a specific
23          designation is DENIED. Appeal Rights waived. DEFENDANT TERMINATED.
            Government Counsel: K Sanchez present. Defense Counsel: J Hammerschmidt
24
            present. Custody Status: CUSTODY. Court Reporter/CD Number: Karen
25          Hooven. (Munoz, I)

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                 Case 1:11-cr-00354-JLT Document 386 Filed 10/17/13 Page 3 of 4


            3.       Upon entry of this stipulation as an order, defendant ARMAND VALLE’s
 1

 2   Motion to Correct Judgment (Document 379) set for October 21, 2013 at 8:30 a.m. may

 3   be taken off calendar.
 4
     DATED: October 16, 2013                       BENJAMIN B. WAGNER
 5                                                 United States Attorney

 6

 7
                                            By:    /s/ Kimberly A. Sanchez _____________
                                                   KIMBERLY A. SANCHEZ
 8                                                 Assistant U.S. Attorney
                                                   Attorneys for Plaintiff
 9

10

11   DATED: October 16, 2013                       HAMMERSCHMIDT BROUGHTON LAW
                                                   CORPORATION
12

13
                                            By:    /s/ Jeffrey T. Hammerschmidt_____________
14                                                 JEFFREY T. HAMMERSCHMIDT
                                                   Attorney for Defendant, Armand Valle
15

16
                                                  ORDER
17
            Good cause having been shown, IT IS HEREBY ORDERED THAT:
18

19          1.                The minutes reflecting the sentencing and judgment herein (Document

20   368) shall be corrected as follows:
21
            MINUTES (Text Only) for proceedings held before District Judge Lawrence J.
22          O’Neill: SENTENCING held on 9/30/2013 for Armand Valle (24) Count 1
            Second Superseding Indictment CUSTODY: 188 Months to run
23          CONCURRENTLY with 1:13CR337 LJO. Special Assessment $100. Supervised
            Release: 60 Months with conditions. Defense motion to correct ARREST date on
24
            Presentence Report as 8/31/2010-GRANTED. The Government moves, by
25          motion, to deny the request of the Defendant for the Court's recommendation to
            the Bureau of Prisons for geographical housing at the following locations:
26          Allenwood, PA; Pollock, LA; El Reno, OK, or Mendota, CA. The basis of the
27
            motion is information gained from a prison authority expert within the Bureau of
            Prisons that the Nuestra Familia and Norteno gang organization is attempting to
28          form a presence at these locations. The Defendant does not oppose dispute the




                                                      3
                                   Case 1:11-cr-00354-JLT Document 386 Filed 10/17/13 Page 4 of 4


                              Government's motion position. The motion by the Government is GRANTED,
 1
                              and the motion by the Defendant for a specific designation is DENIED. Appeal
 2                            Rights waived. DEFENDANT TERMINATED. Government Counsel: K Sanchez
                              present. Defense Counsel: J Hammerschmidt present. Custody Status:
 3                            CUSTODY. Court Reporter/CD Number: Karen Hooven. (Munoz, I)
 4
                              2.       The corrected paragraph shall read:
 5
                              MINUTES (Text Only) for proceedings held before District Judge Lawrence J.
 6                            O’Neill: SENTENCING held on 9/30/2013 for Armand Valle (24) Count 1
 7
                              Second Superseding Indictment CUSTODY: 188 Months to run
                              CONCURRENTLY with 1:13CR337 LJO. Special Assessment $100. Supervised
 8                            Release: 60 Months with conditions. Defense motion to correct ARREST date on
                              Presentence Report as 8/31/2010-GRANTED. The Government moves, by
 9                            motion, to deny the request of the Defendant for the Court's recommendation to
10
                              the Bureau of Prisons for geographical housing at the following location:
                              Mendota, CA. The basis of the motion is information gained from a prison
11                            authority expert within the Bureau of Prisons that the Nuestra Familia and
                              Norteno gang organization is attempting to form a presence at these locations.
12
                              The Defendant does not oppose the Government’s motion. The motion by the
13                            Government is GRANTED, and the motion by the Defendant for a specific
                              designation is DENIED. Appeal Rights waived. DEFENDANT TERMINATED.
14                            Government Counsel: K Sanchez present. Defense Counsel: J Hammerschmidt
                              present. Custody Status: CUSTODY. Court Reporter/CD Number: Karen
15
                              Hooven. (Munoz, I)
16
                              3.       Corrected Minutes shall be prepared and filed herein.
17
                              4.       Defendant ARMAND VALLE’s Motion to Correct Judgment (Document
18

19   379) set for October 21, 2013 at 8:30 a.m. shall be taken off calendar.

20

21
     IT IS SO ORDERED.
22
                           Dated:     October 17, 2013                        /s/ Lawrence J. O’Neill
23
     DEAC_Signature-END:
                                                                           UNITED STATES DISTRICT JUDGE
24
     b9ed48bb
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